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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                           CASE NO.

   APPLE CORPS LIMITED AND
   SUBAFILMS LIMITED,

                   Plaintiffs,
   VS.

   THE INDIVIDUALS, PARTNERSHIPS
   AND UNINCORPORATED
   ASSOCIATIONS IDENTIFIED ON
   SCHEDULE “A,”

                   Defendants.
                                                   /


                  COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

         Plaintiffs, APPLE CORPS LIMITED and SUBAFILMS LIMITED (“Plaintiffs”) hereby

  sue Defendants, the Individuals, Partnerships, and Unincorporated Associations Identified on

  Schedule “A” (collectively “Defendants”). Defendants are promoting, selling, offering for sale and

  distributing goods bearing and/or using counterfeits and confusingly similar imitations of

  Plaintiffs’ respective trademarks within this district through various Internet based e-commerce

  stores using the seller identities set forth on Schedule “A” (the Seller IDs”). In support of their

  claims, Plaintiffs allege as follows:

                                    JURISDICTION AND VENUE

         1.      This is an action for federal trademark counterfeiting and infringement, false

  designation of origin, common law unfair competition, and common law trademark infringement

  pursuant to 15 U.S.C. §§ 1114, 1116, and 1125(a), and The All Writs Act, 28 U.S.C. § 1651(a).

  Accordingly, this Court has subject matter jurisdiction over this action pursuant to 15 U.S.C. §
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  1121 and 28 U.S.C. §§ 1331 and 1338. This Court has supplemental jurisdiction pursuant to 28

  U.S.C. § 1367 over Plaintiffs’ state law claims because those claims are so related to the federal

  claims that they form part of the same case or controversy.

         2.      Defendants are subject to personal jurisdiction in this district, because they direct

  business activities toward and conduct business with consumers throughout the United States,

  including within the State of Florida and this district, through at least, the Internet based e-

  commerce stores accessible in Florida and operating under their Seller IDs.

         3.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391 since Defendants are,

  upon information and belief, aliens who are engaged in infringing activities and causing harm

  within this district by advertising, offering to sell, and selling infringing products to consumers in

  Florida.

                                          THE PLAINTIFFS

         4.      Plaintiff, Apple Corps Limited (“Apple Corps”) is an incorporated limited company

  organized under the laws of the United Kingdom with its principal place of business located in

  London, United Kingdom. Apple Corps is owned by the former members of The Beatles and,

  where applicable, their successors and its principal activities are the promotion, marketing, and

  policing of the products and rights of The Beatles, such as merchandising rights and audio and

  audio-visual content. Apple Corps owns the exclusive right by assignment from The Beatles to all

  merchandising rights of the Beatles and all other intangible rights in the name “The Beatles.”

         5.      Plaintiff, Subafilms Limited (“Subafilms”) is an associated company of Apple

  Corps Limited, with its principal place of business located in London, United Kingdom. Subafilms

  is owned by Apple Corps, the former members of The Beatles and, where applicable, their

  successors. Subafilms’ principal asset is the rights in respect of the cartoon film made in 1967




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  called “Yellow Submarine.”

            6.    Plaintiffs are engaged in the development, manufacture, promotion, distribution,

  and sale in interstate commerce, throughout the United States, including within this district, of a

  variety of quality goods, using multiple common law and federally registered trademarks,

  including those discussed in Paragraphs 17 and 26 below and identified in Schedules “B” and “C”

  hereto.

            7.    Plaintiffs’ trademarked goods are advertised, offered for sale, and sold within the

  State of Florida, including this district. Defendants, through the sale and offer to sell counterfeit

  and infringing versions of Plaintiffs’ respective branded products, are directly, and unfairly,

  competing with Plaintiffs’ economic interests in the State of Florida and causing Plaintiffs harm

  within this jurisdiction.

            8.    Like many other famous trademark owners, Plaintiffs suffer ongoing daily and

  sustained violations of their respective trademark rights at the hands of counterfeiters and

  infringers, such as Defendants herein, who wrongfully reproduce and counterfeit Plaintiffs’

  individual trademarks for the twin purposes of (i) duping and confusing the consuming public and

  (ii) earning substantial profits. The natural and intended byproduct of Defendants’ actions is the

  erosion and destruction of the goodwill associated with Plaintiffs’ respective famous names and

  trademarks and the destruction of the legitimate market sector in which they operate.

            9.    In order to combat the indivisible harm caused by the combined actions of

  Defendants, Plaintiffs expend significant resources in connection with trademark enforcement

  efforts. The expansion of counterfeiting on the World Wide Web, particularly through online

  marketplace platforms, has created an environment that requires companies, such as Plaintiffs, to

  expend significant time and money across a wide spectrum of efforts in order to protect both




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  consumers and themselves from the ill effects of confusion and the erosion of the goodwill

  connected to Plaintiffs’ respective brands.

                                         THE DEFENDANTS

         10.     Defendants are individuals and/or business entities of unknown makeup each of

  whom, upon information and belief, either reside and/or operate in foreign jurisdictions, or

  redistribute products from the same or similar sources in those locations. Defendants have the

  capacity to be sued pursuant to Federal Rule of Civil Procedure 17(b). Defendants target their

  business activities toward consumers throughout the United States, including within this district,

  and conduct pervasive business through the operation of, at least, one fully interactive commercial

  Internet based e-commerce store via, at least, the Internet based marketplace websites,

  Amazon.com, eBay.com and/or Wish.com, under the Seller IDs.

         11.     Defendants are the past and present controlling forces behind the sale of products

  bearing and/or using counterfeits and infringements of Plaintiffs’ individual trademarks as

  described herein using at least the Seller IDs.

         12.     Upon information and belief, Defendants directly engage in unfair competition with

  Plaintiffs by advertising, offering for sale, and selling goods, bearing and/or using counterfeits and

  infringements of one or more of Plaintiffs’ individual trademarks to consumers within the United

  States and this district through the Internet based e-commerce stores using, at least, the Seller IDs

  and additional seller identification aliases not yet known to Plaintiffs. Defendants have

  purposefully directed some portion of their illegal activities towards consumers in the State of

  Florida through the advertisement, offer to sell, sale, and/or shipment of counterfeit and infringing

  goods into the State.

         13.     Defendants have registered, established or purchased, and maintained their Seller




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  IDs. Upon information and belief, Defendants may have engaged in fraudulent conduct with

  respect to the registration of the Seller IDs by providing false and/or misleading information to the

  Internet based e-commerce platforms where they offer for sale and/or sell, during the registration

  or maintenance process related to their respective Seller ID. Upon information and belief,

  Defendants have anonymously registered and maintained some of the Seller IDs for the sole

  purpose of engaging in illegal counterfeiting activities.

          14.     Upon information and belief, Defendants will continue to register or acquire new

  seller identification aliases for the purpose of selling and offering for sale goods bearing and/or

  using counterfeit and confusingly similar imitations of one or more of Plaintiffs’ trademarks unless

  preliminarily and permanently enjoined.

          15.     Defendants use their Internet-based businesses to infringe the intellectual property

  rights of Plaintiffs.

          16.     Defendants’ business names, i.e., the Seller IDs, associated payment accounts, and

  any other alias seller identification names used in connection with the sale of counterfeit and

  infringing goods bearing and/or using one or more of Plaintiffs’ trademarks are essential

  components of Defendants’ online activities and are one of the means by which Defendants further

  their counterfeiting and infringing scheme and cause harm to Plaintiffs. Moreover, Defendants are

  using Plaintiffs’ respective famous brand names and trademarks to drive Internet consumer traffic

  to their e-commerce stores operating under the Seller IDs, thereby increasing the value of the Seller

  IDs and decreasing the size and value of Plaintiffs’ legitimate marketplace at Plaintiffs’ expense.

                              COMMON FACTUAL ALLEGATIONS

          Apple Corp’s Business and Trademark Rights

          17.     Apple Corps is the owner of all rights in and to the following trademarks, which




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  are valid and registered on the Principal Register of the United States Patent and Trademark Office

  (collectively, the “BEATLES Marks”):


                         Registration
  Trademark                               Registration Date                  Class(es) / Good(s)
                          Number


THE BEATLES                1,752,120      February 16, 1993 IC 025 - Headwear, sweatshirts, t-shirts, shirts.

                                                               IC 009 – Computer keyboard accessories,
                                                               namely mouse pads and wrist rests in the form
                                                               of pads for use with computers; telephone
                                                               apparatus, namely, telephones; telephone
                                                               receivers, telephone answering machines,
                                                               mobile telephones; cases for mobile
                                                               telephones; cell phone covers; covers for
                                                               mobile telephones, namely, fitted plastic films
                                                               known as skins for covering and protecting
                                                               electronic apparatus in the nature of mobile
                                                               telephones; straps for mobile telephones;
                                                               telephone call indicator lights and electro-
                                                               mechanical shakers for detecting and signaling
                                                               incoming telephone calls; mechanical and
                                                               electric egg timers; boxes and cases specially
                                                               adapted for holding audio cassettes, video
                                                               cassettes, gramophone records, audio compact
  BEATLES                  4,373,956         July 30, 2013     discs, audio mini discs, video discs, and
                                                               interactive compact discs or cd-roms.

                                                               IC 014 - Jewelry boxes not of metal, including
                                                               ceramic and porcelain jewelry boxes for
                                                               trinkets; jewelry; horological and chronometric
                                                               instruments, namely, watches and clocks;
                                                               watch straps, cuff links, brooches, bracelets,
                                                               bangles, earrings, pendants, medallions,
                                                               trinkets being jewelry, charms being jewelry,
                                                               rings being jewelry, tie pins, jewelers
                                                               ornamental tie pins, lapel pins, tie clips,
                                                               collectible non-monetary coins, ornamental
                                                               pins; articles of precious metal and their alloys,
                                                               and articles coated with precious metal and
                                                               their alloys, namely, belt buckles for clothing,
                                                               coasters, jewelry boxes, key rings, key chains;
                                                               hat and shoe ornaments and key fobs all of


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                    Registration
  Trademark                        Registration Date                 Class(es) / Good(s)
                     Number

                                                       precious metal; rings being jewelry; ornamental
                                                       pins; cigarette and cigar cases; precious stones;
                                                       semi-precious stones; statuettes and figurines
                                                       of precious metal or precious stone or coated
                                                       therewith; scale model vehicles, ships or
                                                       submarines all made from, or coated with
                                                       precious metal or precious stone.

                                                       IC 016 - Articles of precious metal and their
                                                       alloys, and articles coated with precious metal
                                                       and their alloys, namely, money clips; non-
                                                       metal money clips; bookends, including
                                                       bookends made from glass, porcelain,
                                                       earthenware, plaster, plastic, wood, wax, resin,
                                                       cork, reed, cane, wicker, horn, bone, ivory,
                                                       whalebone, shell, amber, mother of pearl,
                                                       meerschaum and substitutes for these materials;
                                                       bond, carbon, copy, printing and writing paper;
                                                       cardboard; printed matter, namely, printed
                                                       awards, printed award certificates, and
                                                       reproductions of printed award certificates, and
                                                       printed emblems and forms; book binding
                                                       materials, namely, coated paper for use as book
                                                       binding and book binding cloth; mounted and
                                                       unmounted photographs; stationery; adhesive
                                                       tapes for stationery or household purposes;
                                                       artist materials, namely, paint brushes, artists'
                                                       sketch pads, drawing and painting papers and
                                                       charcoal pencils; electric and non-electric
                                                       typewriters; office requisites, namely, paper
                                                       shredders and embossers; printed instructional
                                                       and teaching materials on the subject of music;
                                                       plastic bubble packs for packaging; printing
                                                       type; printing blocks; posters; books, namely,
                                                       educational books on the subject of musical
                                                       groups, books on the subject of the
                                                       entertainment industry, books on the subject of
                                                       modern history, and biographies; address
                                                       books; song books; business cards; paper gift
                                                       cards, postcards; printed invitations; greeting
                                                       cards; calendars; photograph albums; prints,
                                                       namely, photograph prints and pictorial prints;



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                    Registration
  Trademark                        Registration Date                 Class(es) / Good(s)
                     Number

                                                       paper gift bags; paper gift boxes; note pads,
                                                       note books; adhesive backed paper for
                                                       stationery purposes; pens, pencils and crayons;
                                                       stationery push pins and thumbtacks; diaries;
                                                       blank checks and blank check books; check
                                                       book covers; coasters of cardboard or paper.
                                                       gift tags of paper and cardboard; decorative
                                                       pencil tip ornaments made from paper,
                                                       cardboard and paper mache; stickers;
                                                       decalcomania; ring binders in the nature of
                                                       document files; folders; personal organizers;
                                                       covers for books and for personal organizers;
                                                       paper table cloths; printed sheet music; printed
                                                       paper publications in the nature of magazines,
                                                       activity books, and coloring books on the
                                                       subject matter of musicians, animation,
                                                       caricatures, cartoons, fiction and motion picture
                                                       films; books, booklets, pamphlets, printed
                                                       guides, comic books and magazines on the
                                                       subject of music, musicians, caricatures,
                                                       animation, cartoons, fiction and motion picture
                                                       films; comic books; general feature magazines;
                                                       children's activity books; scrapbook albums;
                                                       crossword puzzle books; educational activity
                                                       books on the subject of music; writing paper;
                                                       envelopes; small note pads; trading cards;
                                                       pictures; art prints and framed art prints;
                                                       framed and unframed pictorial prints, cartoon
                                                       prints, lithographic prints, color prints,
                                                       caricature prints, computer generated pictorial
                                                       prints, and black and white, and color prints
                                                       featuring hidden or three dimensional images;
                                                       graphic art etchings; cardboard gift boxes;
                                                       paper gift wrap; memo pads; stationery paper;
                                                       book covers; figurines of paper, cardboard or
                                                       paper mache; party decorations of paper,
                                                       cardboard or paper mache for Christmas use;
                                                       kits composed of paper or cardboard for
                                                       making paper figurines; collectable non-
                                                       postage commemorative stamps; rubber
                                                       stamps; protective covers for books and
                                                       personal organizers for stationery use;



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                    Registration
  Trademark                        Registration Date                  Class(es) / Good(s)
                     Number

                                                       telephone directories; paper desk mats; pen and
                                                       pencil cases; pen and pencil boxes; pen and
                                                       pencil holders; drawing rulers; erasers; printed
                                                       paper embroidery design patterns; sewing
                                                       patterns for making clothes, knitting patterns.
                                                       iron-on transfers for decorating textiles; printed
                                                       wall charts; paperweights, not of precious
                                                       metal; babies' bibs of paper; bookmarks;
                                                       passport holders all made from leather or
                                                       imitation leather; pencil cases, notelets and
                                                       autograph books; reusable textile lunch bags;
                                                       reusable plastic shopping bags.

                                                       IC 018 - Goods made from leather or imitation
                                                       leather, namely, waist pouches for carrying
                                                       purses and wallets; luggage, carry on traveling
                                                       bags, clutch bags, trunks, business card cases,
                                                       rucksacks, backpacks, purses, wallets, key
                                                       cases, luggage tags; billfolds, leather key fobs,
                                                       key cases, umbrellas; bags, namely, handbags,
                                                       shoulder bags, all-purpose sports bags, barrel
                                                       bags, carry-on flight bags, and duffel bags,
                                                       suitcases, attaché cases, school bags, satchels,
                                                       gym bags, beach bags and credit card cases;
                                                       hand carry overnight cases of metal, plastic or
                                                       resin; tote bags, including metal totes; textile
                                                       shopping bags; identity card holders of leather
                                                       and imitations of leather.

                                                       IC 024 - Decorative window curtains of wood,
                                                       reed, bamboo, beads or plastic; household
                                                       linen; bed linen; bedspreads; table linen; table
                                                       cloths not of paper; table mats not of paper;
                                                       textile table napkins; coasters made of table
                                                       linen or textile; unfitted fabric furniture covers;
                                                       bed sheets, pillow cases, duvet covers; towels;
                                                       face towels; face washing cloths; curtains; wall
                                                       hanging of textile; cloth banners; cloth bunting;
                                                       cloth flags; handkerchiefs; cushion covers; pre-
                                                       cut textiles for making into cushions and
                                                       cushion covers; traced cloths for embroidery.




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                          Registration
  Trademark                                Registration Date                 Class(es) / Good(s)
                           Number

                                                               IC 025 - Footwear and headgear, namely, hats
                                                               and caps; clothing, namely, shirts, polo shirts,
                                                               T-shirts, sweatshirts; sweatpants; jackets, coats;
                                                               pullovers; vests; articles of underclothing,
                                                               namely, underwear; shorts; scarves; silk pocket
                                                               squares; neck-ties; braces in the nature of
                                                               suspenders; belts; socks; long-sleeved shirts
                                                               and long sleeved T-shirts; silk scarves; silk
                                                               scarves in the shape of squares for wearing
                                                               over the head or around the neck; pants; fleece
                                                               tops; thermal tops; jerseys; baseball jerseys;
                                                               hockey jerseys; sweaters; tank tops; waistcoats;
                                                               trousers; golf shirts; golf pants; golf shoes;
                                                               swim wear; beachwear; night gowns; pajamas;
                                                               dressing gowns; bathrobes; bathing caps; head
                                                               bands; slippers; beach shoes; sandals; clothing
                                                               for toddlers, infants and babies, namely,
                                                               rompers, shortalls, babies' sleep suits; cloth
                                                               babies' bibs.



   The BEATLES Marks are used in connection with the manufacture and distribution of quality

   goods in the classes identified above. True and correct copies of the Certificates of Registration

   for the BEATLES Marks are attached hereto as Composite Exhibit “1.”

            18.   The BEATLES Marks have been extensively and continuously used in interstate

   commerce to identify and distinguish a variety of quality goods. The BEATLES Marks have been

   in use by Apple Corps since long before the Defendants’ use of counterfeits of the BEATLES

   Marks.

            19.   The BEATLES Marks are symbols of Apple Corps’ quality, reputation and

   enormous goodwill and have never been abandoned.




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            20.   The BEATLES Marks are well known and famous. Apple Corps and its licensees

   have expended substantial time, money and other resources in developing, advertising, and

   otherwise promoting the BEATLES Marks. The BEATLES Marks qualify as famous marks as that

   term is used in 15 U.S.C. §1125(c)(1).

            21.   Further, Apple Corps and its licensees have extensively used, advertised, and

   promoted the BEATLES Marks in the United States in association with the sale of quality goods.

   Apple Corps and its licensees have expended significant resources promoting the BEATLES

   Marks and products bearing and/or using the BEATLES Marks on the Internet, and via its official

   website, www.thebeatlesstore.com. Apple Corps’ prominent use of the BEATLES Marks has

   further enhanced the BEATLES Marks’ recognition and fame with members of the consuming

   public. In the last few years alone, Apple Corps has experienced substantial sales of its high quality

   goods.

            22.   The worldwide popularity of the Beatles musical compositions, musical recordings,

   and the enormous sales of goods bearing and/or using the Beatles’ name, have resulted in the

   widespread recognition of the “Beatles” brand. As a result of Apple Corps’ use, promotion and

   advertisement of the Beatles brand, members of the consuming public readily identify merchandise

   bearing or sold under the BEATLES Marks as being quality merchandise sponsored and approved

   by Apple Corps.

            23.   Accordingly, the BEATLES Marks are among the most widely recognized

   trademarks in the United States, and the trademarks have achieved substantial secondary meaning

   as identifiers of quality goods.

            24.   Apple Corps’ has carefully monitored and policed the use of the BEATLES Marks

   and has never assigned or licensed the BEATLES Marks to any of the Defendants in this matter.




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          25.    Genuine goods bearing the BEATLES Marks are widely legitimately advertised,

   promoted, and offered for sale by Apple Corps, and its authorized licensees, via the Internet.

   Visibility on the Internet, particularly via Internet search engines such as Google, Yahoo!, and

   Bing has become increasingly important to Apple Corps’ overall marketing and consumer

   education efforts. Thus, Apple Corps expends significant resources on Internet marketing and

   consumer education which allow Apple Corps and its authorized licensees to fairly and

   legitimately educate consumers about the value associated with the BEATLES Marks and the

   goods sold thereunder.

          Subafilms’ Trademark Rights

          26.    Subafilms is the owner of all rights in and to the following trademark, which is

   valid and registered on the Principal Register of the United States Patent and Trademark Office

   (the “YELLOW SUBMARINE Mark”):


                            Registration
    Trademark                               Registration Date                Class(es) / Good(s)
                             Number

                                                             IC 009 - Musical sound and video
                                                             recordings; gramophone records featuring
                                                             music; audio compact discs featuring music;
                                                             computer game software; video game
                                                             software; interactive entertainment software
                                                             for generating games, puzzles, images,
                                                             musical entertainment, visual entertainment
                                                             or movie clips; sunglasses; eyeglass cases;
                                                             magnets; fridge magnets; mouse pads being
                             3,328,170      November 6, 2007
                                                             accessories for keyboards; telephone
                                                             apparatus, namely, covers for mobile
                                                             telephones; straps for mobile telephones; and
                                                             downloadable sound and video records
                                                             featuring music, musicians, caricatures,
                                                             cartoons, animation, movie clips, album art
                                                             or music memorabilia images provided over
                                                             broadcast, communications, satellite and
                                                             computer networks.



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                             Registration
    Trademark                                 Registration Date                 Class(es) / Good(s)
                              Number


                                                                  IC 014 - Jewelry, cuff links brooches,
                                                                  charms, tie pins, ornamental pins, tie clips;
                                                                  watches and clocks; ornamental lapel pins.

                                                                  IC 024 - Household linen; bed linen;
                                                                  bedspreads; bed sheets, pillow cases, towels.

                                                                   IC 025 - Shirts; polo shirts; t-shirts; long-
                                                                  sleeved shirts and long-sleeved t-shirts;
                                                                  sweatshirts; jackets; pullovers; vests;
                                                                  scarves; pocket squares made of silk; neck-
                                                                  ties; hats; caps; sock; thermal tops; jerseys;
                                                                  sweaters; tank tops; pajamas; clothing for
                                                                  toddlers, infants and babies namely, one
                                                                  piece garments for infants and toddlers, sleep
                                                                  suits, t-shirts and long-sleeved t-shirts.

   The YELLOW SUBMARINE Mark is used in connection with the manufacture and distribution

   of quality goods in the classes also identified above. A true and correct copy of the Certificate of

   Registration for the YELLOW SUBMARINE Mark is attached hereto as Composite Exhibit “2.”

          27.     The YELLOW SUBMARINE Mark has been extensively and continuously used in

   interstate commerce to identify and distinguish a variety of quality goods. The YELLOW

   SUBMARINE Mark has been in use by Subafilms since long before the Defendants’ use of

   counterfeits of the YELLOW SUBMARINE Mark.

          28.     The YELLOW SUBMARINE Mark is a symbol of Subafilms’ quality, reputation

   and enormous goodwill and has never been abandoned.

          29.     The YELLOW SUBMARINE Mark is well known and famous. Subafilms and its

   licensees have expended significant resources in developing, advertising, and otherwise promoting

   the YELLOW SUBMARINE Mark. The YELLOW SUBMARINE Mark qualifies as a famous



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   mark as that term is used in 15 U.S.C. §1125(c)(1).

          30.     Further, Subafilms and its licensees have extensively used, advertised, and

   promoted the YELLOW SUBMARINE Mark in the United States in association with the sale of

   quality goods. Subafilms and its licensees have expended significant resources promoting the

   YELLOW SUBMARINE Mark and products bearing and/or using the YELLOW SUBMARINE

   Mark, on the Internet via the website, www.thebeatlesstore.com. Subafilms’ prominent use of the

   YELLOW SUBMARINE Mark has further enhanced the YELLOW SUBMARINE Mark’s

   recognition and fame with members of the consuming public. In the last few years alone, Subafilms

   has experienced substantial sales of its high quality goods.

          31.     As a result of Subafilms’ efforts, members of the consuming public readily identify

   merchandise bearing or sold under the YELLOW SUBMARINE Mark as being quality

   merchandise sponsored and approved by Subafilms.

          32.     Accordingly, the YELLOW SUBMARINE Mark is among the most widely

   recognized trademarks in the United States, and the trademark has achieved substantial secondary

   meaning as an identifier of high quality goods.

          33.     Subafilms’ has carefully monitored and policed the use of the YELLOW

   SUBMARINE Mark and has never assigned or licensed the YELLOW SUBMARINE Mark to any

   of the Defendants in this matter.

          34.     Genuine goods bearing and/or using the YELLOW SUBMARINE Mark are widely

   legitimately advertised, promoted, and offered for sale by Subafilms through its authorized

   licensees via the Internet. Visibility on the Internet, particularly via Internet search engines such

   as Google, Yahoo!, and Bing has become increasingly important to Subafilms’ overall marketing

   and consumer education efforts. Thus, Subafilms expends significant resources on Internet




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   marketing and consumer education which allow Subafilms and its authorized licensees to fairly

   and legitimately educate consumers about the value associated with the YELLOW SUBMARINE

   Mark and the goods sold thereunder.

          Defendants’ Infringing Activities

          35.     Upon information and belief, Defendants are promoting and advertising,

   distributing, selling, and/or offering for sale goods in interstate commerce bearing and/or using

   counterfeit and infringing trademarks that are exact copies of one or more of the BEATLES Marks

   and/or YELLOW SUBMARINE Mark (the “Counterfeit Goods”) through at least the Internet

   based e-commerce stores operating under the Seller IDs. Several Defendants are also using, at

   least, the listings and associated images identified by the Amazon Standard Identification Numbers

   (“ASIN”) on Schedule “A” annexed hereto. Specifically, upon information and belief, Defendants

   are using identical copies of the BEATLES Marks and/or YELLOW SUBMARINE Mark

   (collectively, “Plaintiffs’ Marks”) for different quality goods. Plaintiffs have used their respective

   Marks extensively and continuously before Defendants began offering goods using counterfeit and

   confusingly similar imitations of Plaintiffs’ merchandise.

          36.     Upon information and belief, Defendants’ Counterfeit Goods are of a quality

   substantially and materially different than that of Plaintiffs’ respective, genuine goods.

   Defendants, upon information and belief, are actively using, promoting and otherwise advertising,

   distributing, selling and/or offering for sale substantial quantities of their Counterfeit Goods with

   the knowledge and intent that such goods will be mistaken for Plaintiffs’ genuine quality goods

   despite Defendants’ knowledge that they are without authority to use Plaintiffs’ Marks. The net

   effect of Defendants’ actions will cause confusion of consumers, at the time of initial interest, sale,

   and in the post-sale setting, who will believe Defendants’ Counterfeit Goods are genuine goods




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   originating from, associated with, and approved by Plaintiffs.

          37.     Defendants advertise their Counterfeit Goods for sale to the consuming public via

   e-commerce stores operating on, at least, one Internet marketplace website using, at least, the Seller

   IDs. In so advertising these goods, Defendants improperly and unlawfully use one or more of

   Plaintiffs’ Marks without Plaintiffs’ permission.

          38.     As part of their overall infringement and counterfeiting scheme, Defendants are,

   upon information and belief, all employing and benefitting from substantially similar marketing

   strategies based, in large measure, upon an illegal use of counterfeits and infringements of

   Plaintiffs’ Marks. Specifically, Defendants are using counterfeits and infringements of at least one

   of Plaintiffs’ Marks in order to make their e-commerce stores selling illegal goods appear more

   relevant and attractive to consumers online. By their actions, Defendants are contributing to the

   creation and maintenance of an illegal marketplace operating in parallel to the legitimate

   marketplace for Plaintiffs’ respective genuine goods. Defendants are causing individual,

   concurrent and indivisible harm to Plaintiffs and the consuming public by (i) depriving Plaintiffs

   and other third parties of their right to fairly compete for space within search engine results and

   reducing the visibility of Plaintiffs’ genuine goods on the World Wide Web, and (ii) causing an

   overall degradation of the value of the goodwill associated with Plaintiffs’ Marks.

          39.     Upon information and belief, Defendants are concurrently targeting their

   counterfeiting and infringing activities toward consumers and causing harm within this district and

   elsewhere throughout the United States. As a result, Defendants are defrauding Plaintiffs and the

   consuming public for Defendants’ own benefit.

          40.     Upon information and belief, at all times relevant hereto, Defendants in this action

   had full knowledge of Plaintiffs’ respective ownership of Plaintiffs’ Marks, including their




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   respective, exclusive rights to use and license such intellectual property and the goodwill

   associated therewith.

          41.     Defendants’ use of Plaintiffs’ Marks, including the promotion and advertisement,

   reproduction, distribution, sale and offering for sale of their Counterfeit Goods, is without

   Plaintiffs’ consent or authorization.

          42.     Defendants are engaging in the above-described illegal counterfeiting and

   infringing activities knowingly and intentionally or with reckless disregard or willful blindness to

   Plaintiffs’ rights for the purpose of trading on Plaintiffs’ goodwill and reputation. If Defendants’

   intentional counterfeiting and infringing activities are not preliminarily and permanently enjoined

   by this Court, Plaintiffs and the consuming public will continue to be harmed.

          43.     Defendants’ above identified infringing activities are likely to cause confusion,

   deception, and mistake in the minds of consumers before, during and after the time of purchase.

   Moreover, Defendants’ wrongful conduct is likely to create a false impression and deceive

   customers, the public, and the trade into believing there is a connection or association between

   Plaintiffs’ respective, genuine goods and Defendants’ Counterfeit Goods, which there is not.

          44.     Upon information and belief, Defendants’ payment and financial accounts are

   being used by Defendants to accept, receive, and deposit profits from Defendants’ trademark

   counterfeiting and infringing and unfairly competitive activities connected to their Seller IDs and

   any other alias seller identification names being used and/or controlled by them.

          45.     Further, upon information and belief, Defendants are likely to transfer or secret

   their assets to avoid payment of any monetary judgment awarded to Plaintiffs.

          46.     Plaintiffs have no adequate remedy at law.

          47.     Plaintiffs are suffering irreparable injury and have suffered substantial damages as




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   a result of Defendants’ unauthorized and wrongful use of Plaintiffs Marks. If Defendants’

   counterfeiting and infringing, and unfairly competitive activities are not preliminarily and

   permanently enjoined by this Court, Plaintiffs and the consuming public will continue to be

   harmed.

          48.     The harm and damages sustained by Plaintiffs have been directly and proximately

   caused by Defendants’ wrongful reproduction, use, advertisement, promotion, offers to sell, and

   sale of their Counterfeit Goods.

             COUNT I - TRADEMARK COUNTERFEITING AND INFRINGEMENT
               PURSUANT TO § 32 OF THE LANHAM ACT (15 U.S.C. § 1114)

          49.     Plaintiffs hereby adopt and re-allege the allegations set forth in Paragraphs 1

   through 48 above.

          50.     This is an action for trademark counterfeiting and infringement against Defendants

   based on their use of counterfeit and confusingly similar imitations of Plaintiffs’ Marks in

   commerce in connection with the promotion, advertisement, distribution, offering for sale and sale

   of the Counterfeit Goods.

          51.     Specifically, Defendants are promoting and otherwise advertising, selling, offering

   for sale, and distributing goods using counterfeits and/or infringements of one or more of

   Plaintiffs’ Marks.   Defendants are continuously infringing and inducing others to infringe

   Plaintiffs’ Marks by using one or more of them to advertise, promote, sell, and offer to sell

   counterfeit and infringing goods.

          52.     Defendants’ concurrent counterfeiting and infringing activities are likely to cause

   and actually are causing confusion, mistake, and deception among members of the trade and the

   general consuming public as to the origin and quality of Defendants’ Counterfeit Goods.

          53.     Defendants’ unlawful actions have caused and are continuing to cause



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   unquantifiable damages to Plaintiffs and are unjustly enriching Defendants with profits at

   Plaintiffs’ expense.

          54.     Defendants’ above-described illegal actions constitute counterfeiting and

   infringement of Plaintiffs’ Marks in violation of Plaintiffs’ respective rights under § 32 of the

   Lanham Act, 15 U.S.C. § 1114.

          55.     Plaintiffs have suffered and will continue to suffer irreparable injury and damages

   due to Defendants’ above described activities if Defendants are not preliminarily and permanently

   enjoined. Additionally, Defendants will continue to wrongfully profit from their illegal activities.

                    COUNT II - FALSE DESIGNATION OF ORIGIN
             PURSUANT TO § 43(a) OF THE LANHAM ACT (15 U.S.C. § 1125(a))

          56.     Plaintiffs hereby adopt and re-allege the allegations set forth in Paragraphs 1

   through 48 above.

          57.     Upon information and belief, Defendants’ Counterfeit Goods bearing, offered for

   sale and sold using copies of at least one of Plaintiffs’ Marks have been widely advertised, offered

   for sale, and distributed throughout the United States via at least one Internet marketplace website.

          58.     Defendants’ Counterfeit Goods bearing, offered for sale, and sold using copies of

   at least one of Plaintiffs’ Marks are virtually identical in appearance to Plaintiffs’ respective

   genuine goods. Accordingly, Defendants’ activities are likely to cause confusion in the trade and

   among the general public as to at least the origin or sponsorship of their Counterfeit Goods.

          59.     Defendants, upon information and belief, have used in connection with their

   advertisement, offer for sale, and sale of their Counterfeit Goods, false designations of origin and

   false descriptions and representations, including words or other symbols and trade dress, which

   tend to falsely describe or represent such goods and have caused such goods to enter into commerce

   with full knowledge of the falsity of such designations of origin and such descriptions and



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   representations, all to Plaintiffs’ detriment.

           60.     Defendants have authorized infringing uses of at least one of Plaintiffs’ Marks in

   Defendants’ advertisement and promotion of their counterfeit and infringing branded goods.

   Defendants have misrepresented to members of the consuming public that the Counterfeit Goods

   being advertised and sold by them are genuine, non-infringing goods.

           61.     Additionally, Defendants are using counterfeits and infringements of Plaintiffs’

   Marks in order to unfairly compete with Plaintiffs and others for space within search engine

   organic results, thereby depriving Plaintiffs of a valuable marketing and educational tool which

   would otherwise be available to Plaintiffs and reducing the visibility of Plaintiffs’ respective,

   genuine goods on the World Wide Web.

           62.     Defendants’ above-described actions are in violation of Section 43(a) of the

   Lanham Act, 15 U.S.C. §1125(a).

           63.     Plaintiffs have no adequate remedy at law and have sustained indivisible injury and

   damage caused by Defendants’ concurrent conduct. Absent an entry of an injunction by this Court,

   Defendants will continue to wrongfully reap profits and Plaintiffs will continue to suffer

   irreparable injury to their goodwill and business reputation, as well as monetary damages.

                         COUNT III - COMMON LAW UNFAIR COMPETITION.

           64.     Plaintiffs hereby adopt and re-allege the allegations set forth in Paragraphs 1

   through 48 above.

           65.     This is an action against Defendants based on their promotion, advertisement,

   distribution, sale and/or offering for sale of goods bearing marks that are virtually identical, both

   visually and phonetically, to Plaintiffs’ Marks in violation of Florida’s common law of unfair

   competition.




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          66.     Defendants are promoting and otherwise advertising, selling, offering for sale and

   distributing goods bearing and/or using counterfeits and infringements of one or more of Plaintiffs’

   Marks. Defendants are also using counterfeits and infringements of Plaintiffs’ Marks to unfairly

   compete with Plaintiffs and others for (i) space in search engine results across an array of search

   terms and (ii) visibility on the World Wide Web.

          67.     Defendants’ infringing activities are likely to cause and actually are causing

   confusion, mistake and deception among members of the trade and the general consuming public

   as to the origin and quality of Defendants’ products by their use of Plaintiffs’ Marks.

          68.     Plaintiffs have no adequate remedy at law and are suffering irreparable injury and

   damages as a result of Defendants’ actions.

                    COUNT IV - COMMON LAW TRADEMARK INFRINGEMENT

          69.     Plaintiffs hereby adopt and re-allege the allegations set forth in Paragraphs 1

   through 48 above.

          70.     This is an action for common law trademark infringement against Defendants based

   on their promotion, advertisement, offering for sale, and sale of their Counterfeit Goods bearing

   at least one of Plaintiffs’ Marks. Plaintiffs are the respective owners of all common law rights in

   and to Plaintiffs’ Marks.

          71.     Specifically, Defendants, upon information and belief, are manufacturing,

   promoting, and otherwise advertising, distributing, offering for sale, and selling goods bearing

   and/or using infringements of at least one of Plaintiffs’ Marks.

          72.     Defendants’ infringing activities are likely to cause and actually are causing

   confusion, mistake and deception among members of the trade and the general consuming public

   as to the origin and quality of Defendants’ Counterfeit Goods bearing and/or using Plaintiffs’




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   Marks.

            73.   Plaintiffs have no adequate remedy at law and are suffering damages and

   irreparable injury as a result of Defendants’ actions.

                                        PRAYER FOR RELIEF

            74.   WHEREFORE, Plaintiffs demand judgment on all Counts of this Complaint and

   an award of equitable relief and monetary relief against Defendants as follows:

                  a.      Entry of temporary, preliminary, and permanent injunctions pursuant to 15

   U.S.C. § 1116 and Federal Rule of Civil Procedure 65 enjoining Defendants, their agents,

   representatives, servants, employees, and all those acting in concert or participation therewith,

   from manufacturing or causing to be manufactured, importing, advertising or promoting,

   distributing, selling or offering to sell their Counterfeit Goods; from infringing, counterfeiting, or

   diluting Plaintiffs’ Marks; from using Plaintiffs’ Marks, or any mark or trade dress similar thereto,

   in connection with the sale of any unauthorized goods; from using any logo, trade name or

   trademark or trade dress that may be calculated to falsely advertise the services or goods of

   Defendants as being sponsored by, authorized by, endorsed by, or in any way associated with

   Plaintiffs; from falsely representing themselves as being connected with Plaintiffs, through

   sponsorship or association, or engaging in any act that is likely to falsely cause members of the

   trade and/or of the purchasing public to believe any goods or services of Defendants, are in any

   way endorsed by, approved by, and/or associated with Plaintiffs; from using any reproduction,

   counterfeit, infringement, copy, or colorable imitation of Plaintiffs Marks in connection with the

   publicity, promotion, sale, or advertising of any goods sold by Defendants; from affixing,

   applying, annexing or using in connection with the sale of any goods, a false description or

   representation, including words or other symbols tending to falsely describe or represent




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   Defendants’ goods as being those of Plaintiffs, or in any way endorsed by Plaintiffs and from

   offering such goods in commerce; from engaging in search engine optimization strategies using

   colorable imitations of Plaintiffs respective name or trademarks and from otherwise unfairly

   competing with Plaintiffs.

                  b.     Entry of a temporary preliminary, and permanent injunctions enjoining

   Defendants from creating, maintaining, operating, any Internet based e-commerce stores to be used

   in connection with or in support of its Internet based illegal marketplace for the sale and

   distribution of non-genuine goods bearing and/or using counterfeits and/or infringements of

   Plaintiffs’ Marks

                  c.     Entry of an Order, pursuant to 28 U.S.C. § 1651(a), The All Writs Act, that,

   upon Plaintiffs’ request the applicable governing Internet marketplace website operators and/or

   administrators for the Seller IDs who are provided with notice of the injunction, including but not

   limited to, Amazon.com, Inc., eBay Inc., and ContextLogic, Inc., which operates the Wish.com

   platform, disable and/or cease facilitating access to the Seller IDs and any other alias seller

   identification names being used and/or controlled by Defendants to engage in the business of

   marketing, offering to sell, and/or selling goods bearing and/or using counterfeits and

   infringements of Plaintiffs’ Marks.

                  d.     Entry of an Order, pursuant to 28 U.S.C. § 1651(a), The All Writs Act, that,

   upon Plaintiffs’ request, any Internet marketplace website operators and/or administrators who are

   provided with notice of the injunction, including but not limited to Amazon.com, Inc., eBay.com,

   and ContextLogic, Inc., which operates the Wish.com platform, permanently remove from the

   multiple platforms, which include, inter alia, a Direct platform, Group platform, Seller Product

   Management platform, Vendor Product Management platform, and Brand Registry platform, any




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   and all listings and associated images of goods bearing and/or using counterfeits and/or

   infringements of Plaintiffs’ Marks via the e-commerce stores operating under the Seller IDs,

   including but not limited to the listings and associated images identified by the Amazon Standard

   Identification Numbers (“ASIN”) on Schedule “A” annexed hereto, and upon Plaintiffs’ request,

   any other listings and images of goods bearing and/or using counterfeits and/or infringements of

   Plaintiffs’ Marks associated with any ASIN linked to the same seller or linked to any other alias

   seller identification names being used and/or controlled by Defendants to promote, offer for sale

   and/or sell goods bearing and/or using counterfeits and/or infringements of Plaintiffs’ Marks.

                   e.      Entry of an Order, pursuant to 28 U.S.C. § 1651(a), The All Writs Act, that,

   upon Plaintiffs’ request, any Internet marketplace website operators and/or administrators who are

   provided with notice of the injunction, including but not limited to Amazon.com, Inc., eBay.com,

   and ContextLogic, Inc., which operates the Wish.com platform, immediately cease fulfillment of

   and sequester all goods of each Defendant bearing and/or using one or more of Plaintiffs’ Marks

   in its inventory, possession, custody, or control, including but not limited to Defendants’ inventory

   assets corresponding to the ASINs identified on Schedule “A” hereto, and surrender those goods

   to Plaintiffs for destruction.

                   f.      Entry of an Order requiring Defendants to account to and pay Plaintiffs for

   all profits and damages resulting from Defendants’ trademark counterfeiting and infringing and

   unfairly competitive activities and that the award to Plaintiffs be trebled, as provided for under 15

   U.S.C. §1117, or, at Plaintiffs’ election with respect to Count I, that Plaintiffs be awarded statutory

   damages from each Defendant in the amount of two million dollars ($2,000,000.00) per each

   counterfeit trademark used and product sold, as provided by 15 U.S.C. §1117(c)(2) of the Lanham

   Act.




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                  g.      Entry of an award pursuant to 15 U.S.C. § 1117 (a) and (b) of Plaintiffs’

   costs and reasonable attorneys’ fees and investigative fees associated with bringing this action.

                  h.      Entry of an Order that, upon Plaintiffs’ request, Defendants and any

   financial institutions, payment processors, banks, escrow services, money transmitters, or

   marketplace platforms, including but not limited to, Amazon Payments, Inc., PayPal, Inc.,

   ContextLogic, Inc., which operates the Wish.com platform, and their related companies and

   affiliates, identify and restrain all funds, up to and including the total amount of judgment, in all

   financial accounts and/or sub-accounts used in connection with the Seller IDs or other alias seller

   identification names or e-commerce store names used by Defendants presently or in the future, as

   well as any other related accounts of the same customer(s) and any other accounts which transfer

   funds into the same financial institution account(s), to be surrendered to Plaintiffs in partial

   satisfaction of the monetary judgment entered herein.

                  i.      Entry of an award of pre-judgment interest on the judgment amount.

                  j.      Entry of an Order for any further relief as the Court may deem just and

   proper.

   DATED: February 14, 2019.             Respectfully submitted,

                                         STEPHEN M. GAFFIGAN, P.A.

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                                       SCHEDULE “A”




    [This page is the subject of Plaintiffs’ Motion to File Under Seal. As such, this page has
                        been redacted in accordance with L.R. 5.4(b)(1)]




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